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        UNITED STATES DISTRICT COURT                  Simmons has filed his own 18 U.S.C. §
        SOUTHERN DISTRICT OF GEORGIA                  35 82(c)(2) “Motion For Retroactive
             SAVANNAH DIVISION
                                                      Application of [the U.S.] Sentencing Guidelines
UNITED STATES                                         to a Crack Cocaine Offense.” Doc. # 205.

V.                                 402CR111             However, while citing to the Guideline
                                                      Amendments, he actually argues that he
LARRY SIMMONS

                         ORDER                           has been successful in the attack of a prior
                                                         state conviction which invalidates the 21
   Convicted (in one count) of violating 21              U.S.C. § 851 notice of enhancement
U.S.C. § § 846 and 851 (“Conspiracy to possess           initially filed by the Government, and to
with intent to distribute and to distribute more         which would now qualify Petitioner to
than 50 grams of crack cocaine”) and (in two             receive a 2-point level reduction from his
other counts), of violating 21 U.S.C. §§                 original guideline base offense level
841(a)(1) and 851 (“Distribution of more than            (BOL).
5 grams of crack cocaine”), doc. # 164,
defendant Larry Simmons unsuccessfully                Id. at 1. This raises the question whether
appealed, U.S. v. Simmons, 103 Fed.Appx. 666          Simmons presents a crack-wave or a § 2255
(11th Cir. 2004), and unsuccessfully sought 28        case. For that matter, it is established law that
U.S.C. § 2255 relief. Doc. ## 181, 182-83, 185,       if § 2255 supplies the remedy for the relief
187, 190. The Court also sua sponte considered        requested, then § 2255 must be used. Antonelli
and denied 18 U.S.C. § 3582(c)(2) relief. Doc.        v. Warden, U.S.P. Atlanta, 542 F.3d 1348, 1352
# 198 (“A sentence of life imprisonment as to         n. 1 (11th Cir. 2008) (“a § 2255 motion is the
Count I is statutorily required in this case”).       exclusive remedy for a federal prisoner to
                                                      collaterally attack his conviction and sentence,
  Diving head first into the “crack-wave” of          except in the rare cases where it is inadequate
cases identified in Mosley v. U.S., 2008 WL           to do so”). Furthermore,
4755372 (S.D.Ga. 10/24/08) (unpublished), 1
                                                         it cannot seriously be disputed that § 2255
                                                         provides an adequate and effective
1
     This                                                remedy to correct a sentence that was
                                                         enhanced by a state court conviction
            refers to the wave of §                      which has subsequently been reversed, as
            3582(c)(2)-based, sentence-reduction         a “defendant given a sentence enhanced
            motions rolling into federal courts
                                                         for a prior conviction is entitled to a
            nationwide in response to the U.S.
            Sentencing Commission's                      reduction if the earlier conviction is
            promulgation of Amendment 706,               vacated.” Johnson v. United States, 544
            which amended the Drug Quantity
            Table in United States Sentencing
            Guidelines § 2Dl.l(c). U.S.S.G.App. C,
            Amend. 706 (2007). That Amendment                 May 1, 2008) (listing Amendment 706
            provides a two-level reduction in base            under U.S.S.G. § 1B1.10(c) as a
            offense levels for crack cocaine                  retroactively applicable amendment).
            offenses. See id. The Commission                  U.S. v. Moore, 541 F.3d 1323, 1325
            made this amendment retroactively                 (11th Cir.2008).
            applicable, effective as of 3/3/08. See
            U.S.S.G.App. C, Amend. 713 (Supp.         Mosley, 2008 WL 4755372 at * 1 n. 2.
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   U.S. 295, 303, 125 S.Ct. 1571, 161                  This 17 day of November, 2008.
   L.Ed.2d 542 (2005); see also Dean v.
   McFadden, 133 Fed. Appx. 640, 641
   (11th Cir.2005) (§ 2255 provides
   adequate and effective remedy where               ____________________________________
   petitioner attacks sentence based on              __
   vacatur of underlying state conviction).          B. AVANT EDENFIELD, JUDGE
                                                     UNITED STATES DISTRICT COURT
Baisden v. Middlebrook, 2008 WL 4525365 at           SOUTHERN DISTRICT OF GEORGIA
* 2 (N.D.Fla. 10/2/08) (unpublished).

   Here Simmons invokes the crack-wave label
but in fact is challenging his federal sentence by
now claiming that it is undermined by the
vacation of his underlying state convictions.
Having already invoked § 2255 once, he by
definition now advances a second (hence,
successive) § 2255 motion -- so now he must go
directly to the Eleventh Circuit for that.
Antonelli, 542 F.3d at 1352; see also Hairston
v. Groneolsky, 2008 WL 1813160 at * 2 (3rd
Cir. 4/23/08) (unpublished) (applying
successiveness bar, but noting defendant’s right
to independently seek crack-wave relief); U.S.
v. Barnes, 2008 WL 2329422 (M.D.Fla. 6/4/08)
(unpublished) (“Nothing in Amendment 706
allows a defendant to collaterally challenge his
prior convictions”).

   Defendant Larry Simmons’s 18 U.S.C. §
3582(c)(2) motion (doc. # 205) is therefore
DENIED. Simmons also moves for
appointment of counsel. Doc. # 206. The
Court DENIES that, too, as he has
demonstrated ample capacity to represent
himself, there is no right to counsel on
collateral review, Lawrence v. Florida, 127
S.Ct. 1079, 1085 (2007), and there would be no
realistic case here for counsel to litigate in any
event.
